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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

 KENDALL DEALERSHIP HOLDINGS,
 LLC,

                            Plaintiff,

       v.

 WARREN DISTRIBUTION, INC. a
 Nebraska Corporation,

                       Defendant.
 __________________________________
 WARREN DISTRIBUTION, INC.,

                  Third-Party Plaintiff,         Case No. 3:18-cv-00146-HRH

        v.

 ELECTRICAL COMPONENTS
 INTERNATIONAL, INC., ELECTRICAL
 COMPONENTS CANADA, INC., and
 TOYOTA CANADA, INC.,

                  Third-Party Defendants.

     WARREN DISTRIBUTION’S MOTION FOR SUMMARY JUDGMENT
                  REGARDING LIABILITY ISSUES



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        Warren Distribution moves for summary judgment on three issues. Because the

issues are interrelated, they are brought together in one motion. First, Warren moves for

summary judgment on liability on all issues based on lack of evidence. Second, Warren

moves for summary judgment, in the alternative, that the model 913-1 block heater was

not defective, and Kendall Automotive is not entitled to damages arising out of the

installation of that block heater into its vehicles. Third, Warren moves for summary

judgment on Kendall’s Unfair Trade Practices Act claim.

   I.      Background Information

        This case arises out of the sale of block heaters by Warren Distribution to Kendall

Toyota.    Kendall claims that the block heaters were defective, either because of a

manufacturing defect or because of a design defect. Mr. Shideh submitted a report, which

is the subject of a separate motion, that suggested that the block heaters may have contained

manufacturing defects. On the other hand, Dave Blewett, Kendall Automotive’ s CEO and

Rule 30(b) witness, claimed that the block heaters were defective because the 400-watt

heater cartridge that is inserted into the engine block produced too much heat. E.g., Kendall

Deposition at 43-44, 242-43. (Attached as Exhibit A)

        The block heaters at issue were manufactured by third party defendant ECC, located

in Toronto Canada. ECC produced a block heater for Toyota Canada pursuant to a contract

between them for sale to the Canadian market. ECC also sold block heaters to Warren,

who is the United States distributor for ECC’s block heaters. The model of block heater at




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issue is known as model 913. Warren, in turn, sold this model to Kendall for the period

2014-2017.

       By way of background, Kendall originally purchased block heaters from Toyota

USA. Around 2014, Toyota USA stopped supplying Kendall block heaters, and requested

that Kendall obtain the block heaters through Toyota Canada. Kendall Deposition at 236-

37. (Exhibit A) Toyota Canada pointed Kendall to Warren as the source for its block

heaters. The block heater that Kendall bought from Warren appears to be the same block

heater that Kendall previously purchased through Toyota USA. Id. at 237-38.

       Toyota Canada issued a recall in Canada with respect to the model 913 block heaters

sold in Canada in July 2017. Subsequently, in March 2018, Kendall issued a safety notice

to its customers for block heaters sold in Alaska, which included both the model 913 and

the 913-1 block heater.

       Dan McNaught, ECC’s Business Development Manager, testified at his deposition

that the model 913 block heater consisted of a cord and a cartridge (the heating element).

McNaught Deposition at 8-9. (Attached as Exhibit B).               With respect to the Canadian

market, Toyota Canada ultimately requested that ECC modify this heater so that the first

meter of the cord consisted of silicone wire, which was more heat resistant than the HPN

wire it replaced. See id. at 9-10, 24, 29.        In addition, what was previously a 400-watt

cartridge was replaced by a 202-watt cartridge. Id. at 10.

       The original Model 913 sold in the United States had the same cord and cartridge

as the block heater that was sold in Canada. Id. at 12. Around March 2017, Toyota Canada


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suspended selling the Canadian version of the product in Canada as a purely precautionary

matter, while it was investigating reported thermal events involving the block heater. See

id. at 14-15, 31. As a precaution, ECC also stopped selling the 913 model to the United

States at the same time, around March 2017. Id. at 23. Before renewing sales to the United

States market, ECC increased the robustness of the heater cord, again as a precautionary

measure. Id. at 14-15, 23. This involved increasing the portion of the cord covered by

silicone to the first six inches from the female end1 of the cord and adding a fiberglass

protective sleeving. Id. at 13. This revised model, known as model 913-1, retained the

400-watt cartridge, which McNaught described as the standard in the industry. Id. Order

records show that the first order of 913-1 block heaters was shipped in July or August. See

Exhibit C.

       Kendall ultimately insisted that the model it was going to use had to be identical to

the revised model that was being sold in Canada. Id. at 25. This new model – which is

essentially the same model that Toyota Canada uses – is known in the United States as

model 913-2. Id. at 26. All block heaters sold after March 2018 were model 913-2.

       Plaintiff’s complaint alleges that the block heaters it complains of were improperly

manufactured due either a short circuit in the electrical cord and/or too much wattage

produced by the engine block heaters. Complaint, ¶ 11. It complains that Warren

continued to sell the Pyroil [ECC] engine block heater to Kendall after Warren knew or




1 The female end of the cord plugs into the cartridge. The male end of the cord extrudes
from under the hood, where it can be connected to an electrical outlet.
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should have known the block heater was defective. Id. at ¶ 15. It further claims that Warren

committed unfair acts in violation of the Unfair Trade Practices Act because it falsely

represented the engine block heaters were build to standards that they were not. Id. at ¶

22.     In addition, in interrogatory responses, Kendall claims that Warren and ECC

incorrectly told them that the block heaters with the cord modification made the block

heaters safe. See Exhibit D at 2-3.

            Mr. Blewett, as Kendall’s rule 30(b) witness, stated that the basis of Kendall’s claim

was that the wattage of the block heater cartridge was too high. Kendall deposition at 54-

55, 78-79. (attached as Exhibit A). Kendall determined to go to the 913-2, with the lower

wattage cartridge, “basically as a precautionary measure.” Id. at 82. Kendall’s position is

that the use of the 400-watt block heater cartridge made the block heater defective. Id. at

75-78. Kendall further agreed that it had no issues with the 913-1 cord. Id. at 79. Kendall

has not done any independent testing of the block heaters. Id. at 52. Rather, it relies on

statements that representatives of Toyota USA made to Mr. Blewett for its claim that the

wattage of the block heater was too high. Id. at 53.

      II.      Summary Judgment Standard

            Federal Rule of Civil Procedure 56(a) directs a court to “grant summary judgment

if the movant shows that there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” The burden of showing the absence of a genuine

dispute of material fact lies with the moving party. Celotex Corp. v. Catrett, 477 U.S. 317,

325, 106 S. Ct. 2505 (1986). If the moving party meets this burden, the non-moving party


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must present specific factual evidence demonstrating the existence of a genuine issue of

fact. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-49, 106 S. Ct. 2505 (1986). The

non-moving party may not rely on mere allegations or denials. It must demonstrate that

enough evidence supports the alleged factual dispute to require a finder of fact to make a

determination at trial between the parties' differing versions of the truth. Millo v. Delius,

872 F.Supp.2d 867, 871–72 (D. Alaska 2012).

       The moving party must first demonstrate that it is entitled to summary judgment.

Celotex, 477 U.S. at 323. The moving party has the initial burden of identifying the

elements of the claim or defense and evidence that it believes demonstrates the absence of

an issue of material fact. Id. Where the moving party does not bear the burden of proof at

trial, it can meet that burden by showing that the nonmoving party does not have enough

evidence of an essential element to carry its ultimate burden of persuasion at trial. Nissan

Fire & Marine Ins. Co., Ltd. v. Fritz Companies, Inc., 210 F.3d 1099, 1102 (9th Cir. 2000).

       Accordingly, where the non-moving party has the burden of proof at trial, the

moving party is not required to produce evidence negating or disproving every essential

element of the non-moving party's case. Instead, the moving party's burden is met by

pointing out that there is an absence of evidence supporting the non-moving party's claim.

Celotex, 477 U.S. at 323. The burden then shifts to the non-moving party to show that

there is a genuine issue of material fact that must be resolved at trial. The non-moving

party must make an affirmative showing on all matters placed in issue by the motion as to




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which it has the burden of proof at trial. Id.; Anderson, 477 U.S. at 252. See also Alaska

Stock, LLC v. Pearson Educ., Inc., 975 F.Supp.2d 1027, 1033 (D. Alaska 2013).

       As noted by the Supreme Court:

       We find no express or implied requirement in Rule 56 that the moving party
       support its motion with affidavits or other similar materials negating the
       opponent's claim. On the contrary, Rule 56(c), which refers to “the affidavits,
       if any” (emphasis added), suggests the absence of such a requirement. And
       if there were any doubt about the meaning of Rule 56(c) in this regard, such
       doubt is clearly removed by Rules 56(a) and (b), which provide that
       claimants and defendants, respectively, may move for summary judgment
       “with or without supporting affidavits” (emphasis added). The import of
       these subsections is that, regardless of whether the moving party
       accompanies its summary judgment motion with affidavits, the motion may,
       and should, be granted so long as whatever is before the district court
       demonstrates that the standard for the entry of summary judgment, as set
       forth in Rule 56(c), is satisfied. One of the principal purposes of the summary
       judgment rule is to isolate and dispose of factually unsupported claims or
       defenses, and we think it should be interpreted in a way that allows it to
       accomplish this purpose.

Celotex Corp. v. Catrett, 477 U.S. 317, 323–24, 106 S. Ct. 2548, 2553 (1986).

       Once the moving party has met its burden, the burden shifts to the non-moving party

to present admissible evidence showing there are disputed facts that require a trial. To

reach the level of a genuine dispute, the evidence must be such as “would allow a

reasonable fact-finder to return a verdict for the non-moving party.” Millo, 872 F.Supp.2d

at 871. The non-moving party “must do more than simply show that there is some

metaphysical doubt as to the material facts.” If the evidence provided by the non-moving

party is “merely colorable” or “not significantly probative,” summary judgment is

appropriate. Id. at 872.



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   III.     Warren Is Entitled to Summary Judgment on the Issue of Product Defect

       The undisputed testimony is that none of the block heaters that Warren sold Kendall

were defective. Mr. Dare is the Quality Manager for ECC, whose job it was to oversee the

manufacturing of the model 913 block heater. Dare Deposition at 11. (Attached as Exhibit

E). He testified that testing of the block heater by ECC and Toyota Canada did not locate

a product defect.

       Mr. Dare discussed that Toyota approached ECC in early 2017 because they had

concerns that there might be a manufacturing defect with the product. Toyota and ECC

tested over 100 block heater cords that had been sent to dealers. Id. at 24. Some anomalies

were initially noted with the block heaters, and then tests were designed to recreate those

anomalies to see whether they would lead to failure. The tests could not recreate any

failures under normal conditions, or a root cause of the thermal events that were being

investigated. Id. at 25-26. The cords failed only when exposed to 150 degrees Celsius,

which was far above the product’s rated temperature.            Id. at 28.    ECC did work with

Toyota to make changes to its manufacturing process, but the manufacturing process was

not found to be the cause of any thermal events. Id. at 78.

       Mr. Dare stated that after this testing, “we [Toyota Canada and ECC] realized that

everything that was observed in the manufacturing process that could be considered an

issue or concern didn’t really play a factor a -- as a factor in the thermal events.” Id. at

55-56. Ultimately, the minor manufacturing anomalies were a “non-issue”:

              Q. So is that -- for example, you went through sort of the four things
       we talked about earlier, the concerns that they had that identified with the --

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       the crimping and the -- well, I'm going to use, perhaps, not the exact right
       terminology here, but -- the terminating, the slitting process, and those four
       or more things, those things became a non-issue at that point then?

               A. That's correct.

             Q. So at this point, was there any conclusion reached as to how the
       thermal events occurred in the field?

               A. There was no root cause.

Id. at 56. Toyota Canada in fact stated to Mr. Dare that “They couldn’t figure out a root

cause.” Id. At 60. Mr. Dare further testified that the parts passed all tests and were safe,

and the parts performed as intended under normal conditions. Id. at 138-141. It was a safe

product that met all requirements and design specifications. Id. at 141. He confirmed that

there were no problems with the block heaters that would cause thermal events.                 Id. at

143-144.       He further stated that ECC could find no evidence that there was any

manufacturing process issues with respect to the block heaters. Id. at 140. Based on his

investigation and experience, there was not a manufacturing or design defect in the 913

block heaters. Id. at 142.

       Duncan Whitelaw is the advance design engineer and manager for ECC. Whitelaw

Deposition at 9-10. (attached as Exhibit F). He similarly testified that the model 913 block

heater was a good and safe product, fit for the application for which it was designed, and

that the testing performed by ECC and Toyota Canada found no evidence of a

manufacturing defect. Id. at 140-141. It was his opinion that the product had neither a

manufacturing or design defect. Id. at 142.



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       Dan McNaught of ECC, who also had some familiarity with Toyota Canada testing

of the 913 block heater, similarly testified:

             Q. So, moving back to the conversations that you had with Toyota
       Canada or that you sat in on, what is it you recall that they raised as concerns?
       Can you tell me what was discussed during that meeting?

               A. Just the fact that they had what they saw as . . . as a spike in those
       seven instances in Western Canada, they all came relatively close together
       and because of their geographic area, it showed up and caused a blip on their
       radar. And because they were . . . they were being overly cautious these days
       because of the previous issues they had with floor mats, for instance, and the
       harm that did to their reputation, so they were being overly cautious and they
       didn't want to . . . they didn't want a repeat of the same situation, so . . . but
       having said that, they only saw it as a blip on the radar. They want to know
       . . . work with us. It was very proactive. It was a collaborative relationship.
       They wanted to work with us to see what, if anything, was the cause for those
       seven instances. Unfortunately, they were unable to find any root cause or
       reproduce it.

               Q.    Toyota Canada?

               A.    Yes.

               Q.    And how did you learn that?

             A. Just through final discussions. There is no root cause . . . there
       was no root cause mentioned in the recall.

McNaught Depo. at 18-19; see also id. at 19-20. (Attached as Exhibit B). The cause of

the Canadian events was never determined. Id. at 30-31

       The ECC depositions also confirmed that ECC had multiple manufacturing

processes in place in 2016 to prevent product defects. Dare Dep. at 136-137. (Attached as

Exhibit E). In particular, each cord was subjected to a “high potential” test where the cord

was charged up with 1500 volts. This high potential test locates if there are any potential


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short circuits in the cord and confirm that the cord will perform as intended. Id. at 137,

140. Mr. Dare further explained, even assuming some anomaly with crimping or a loose

wire strand, that could not cause a short, because the crimps and wiring are all encased in

silicone, which is an excellent insulator. Id. at 139-40.

       Warren Distribution is entitled to summary judgment on Kendall claims that the

400-watt cartridge is defective because it produces too much heat. Neither Kendall nor its

expert, Mr. Shideh, conducted any testing that might confirm that this to be the case. Nor

does Mr. Shideh’s report even discuss the issue of cartridge wattage. Kendall’s sole basis

for this claim are hearsay statements from employees at Toyota USA that the 400-watt

heater was too hot. Because Kendall has no basis or support for this claim, Warren is

entitled to summary judgment.

       Warren is also entitled to summary judgment on the issue of manufacturing defect.

The deposition testimony that Warren discusses above establishes that the block heaters

did not have a manufacturing defect. Any possible support for a manufacturing defect

claim would need to come from its expert, Sean Shideh. But for the reasons stated in the

motion to strike Mr. Shideh as a witness filed concurrently with this motion, Mr. Shideh is

not entitled to testify on this subject. Without his testimony, there is thus no evidence that

block heaters at issue had a manufacturing defect.

       Kendall’s entire complaint is based on the foundation that a product defect existed.

Because Warren is entitled to summary judgment on Kendall’s claim that the block heaters

were defective, it is entitled to summary judgment dismissing Kendall’s entire complaint.


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   IV.      In the Alternative, Warren Is Entitled to Summary Judgment on the
            Question Whether the Model 913-1 Block Heater Was Defective.

         While Warren is entitled to summary judgment on all liability issues, in the

alternative, Warren is entitled to summary judgment on whether the model 913-1 block

heater was defective. First, Mr. Shideh’s report only suggests manufacturing issues during

the period of 2016 and early 2017. See Exhibit G at 4. His report only discusses the model

913 block heater and does not discuss or opine on the Model 913-1 heater, which was not

manufactured and sold until a later date. In addition, Kendall agreed at its deposition that

it did not have issues with the 913-1 cord.

         Kendall may argue that the 913-1 was defective because is continued to use a 400-

watt cartridge. But as discussed above, Kendall has conducted no testing and produced no

expert report that the 400-watt cartridge was the cause of any thermal events or fires, or

that it was defective in any way. Rather, as discussed above, a 400-watt cartridge is

standard in the industry.

         Accordingly, in the alternative Warren is entitled to summary judgment that the

model 913-1 block heater was defective.

   V.       Warren Distribution Is Entitled to Summary Judgment on Kendall’s
            Unfair Trade Practices Claims

         Warren is also entitled to summary judgment on Kendall’s claims under the

Alaska’s Unfair Trade Practices Act. See AS 45.50.471 et seq. None of Warren’s actions,

or indeed the actions of ECC, violated the act.




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       Kendall complains first that Warren continued to sell it the model 913 block heater

after being aware of the Canadian recall. As discussed above, this is not correct. The

Toyota Canada recall was in July 2017. ECC and Warren had previously stopped selling

the model 913 block heater as of March 2017. ECC then redesigned the block heater as a

precaution to make it a more robust product. There were no sales of the model 913 block

heater after March 2017.

       Kendall also complains that Warren and ECC incorrectly told them that the block

heaters with the cord modification made the block heaters safe. This claim fails for two

reasons. First, the discussions referred to, which occurred at the end of February or early

March 2018, related to the model 913-1 block heater. Warren is attaching a discussion

between the parties that occurred contemporaneously with the phone discussions. See

Exhibit H. Mr. Blewett testified that he spoke to Mr. O’Conner of Warren around the time

of this email correspondence. Kendall Deposition at 250-53; see also id. at 35-38. He

recalls Mr. O’Conner telling him that the 400-watt cartridge was safe. Id. at 58-59. But

because of what Mr. Blewett heard from Toyota USA around the same time, id. at 63,

Kendall chose to go with the Canadian solution, and to stop using the 913-1 block heater.

It issued its safety notice in early March 2018. Exhibit I.

       As to this claim, Kendall has produced no evidence that the 913-1 was unsafe, or

that any statement Warren made was incorrect. Because Kendall cannot show that Warren

made a false statement, this claim must fail.




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       A claim for damages under the Unfair Trade Practices Act is a claim under AS

45.50.531(a). A section .531 claim for damages requires proof of causation, i.e., plaintiff

must have suffered a loss “as a result of” defendant’s actions. Section .531’s causation

mandate requires the plaintiff prove that it “suffer[ed] an ascertainable loss of money or

property as a result of another person’s act or practice declared unlawful by AS 45.50.471.”

Without a causal connection between the violation and actual damages, there is no right to

monetary relief. See generally Smallwood v. Central Peninsula General Hospital, 151

P.3d 319 (Alaska 2006); Garrison v. Dixon, 19 P.3d 1229 (Alaska 2001).

       Thus, in Smallwood, the Alaska court implicitly held that actual damages were a

requirement to bring a claim under .531. It found that plaintiff, who admitted he was not

damaged, did not have a cause of action under that section. Smallwood v. Central

Peninsula General Hosp., 151 P.3d 319, 329 (Alaska 2006).                    Similarly, the Court

confirmed in Garrison that a plaintiff was required to show monetary losses to bring a

claim under .531. Garrison v. Dixon, 19 P.3d 1229, 1235 n.22 (Alaska 2001).

       Admittedly, neither of these cases directly addressed the statute’s “as a result of”

language. But case law nationally makes clear that, at a minimum, “but for” causation is

required under damages provisions such as the one in Alaska’s unfair trade practices

statute. D. Pridgen & R. Alderman, Consumer Protection and the Law § 6.3 (2016). The

majority rule is that plaintiffs must show damages arising out of reliance on a misleading

statement. Id. For example, the fact that a seller of mobile homes was not licensed to sell

insurance as required by law was not actionable, given that no damages arose out of the


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lack of licensing. Chavarria v. Fleetwood Retail Corp. of New Mexico, 115 P.3d 799, 810

(N.M. App. 2005), partially reversed on other grounds, 143 P.3d 717 (N.M. 2006).

       Here, there is not reliance on any statements that Warren may have made that the

400-watt heater was safe. Kendall did not rely on any statements made by Warren or ECC.

Rather, it relied on statements made by Toyota USA regarding the product in making its

recall decisions. Thus, Kendall does not meet the causation requirement under AS 45-

.50.531.

       Conclusion

       For the above reasons, Warren is entitled to summary judgment.


       DATED this 19th day of October, 2020 at Anchorage, Alaska.

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                                                      Third-Party Plaintiff




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        CERTIFICATE OF SERVICE

 I HEREBY CERTIFY that on the 19th day of October,
 2020, a copy of the foregoing was served electronically
 on the following:

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